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Albert L. Underhill

Snell & Wilmer LLP

400 E. Van Buren Street :.`.N

Phoenix, Az 85004-2202 ;’ § r;~ a
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UNITED STATES DISTRICT COU{Q'{` pfl . ;'M /1
NORTHERN DISTRICT OF CAMFQRN;IA t __ n

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ADVENTURE MEXICAN INSURANCE
SERVICES, INC.,

CASE NQ_ C08 00840EMC

 

 

 

 

Plaintiff(s),
v. APPLICATION FOR

INTERNATIONAL iNsURANCE §BB'IIIFASSOVI§C%F ATTORNEY
GROUP, INC. DBA MEXICO & RV
INSURANCE SERVICES,

Defendangs). /

Pursuant to Civil L.R. 11-3, Albert L- Underhill , an active member in

good standing of the bar of Minnesota , hereby applies

for admission to practice in the Northern District of Califomia on a pro hac vice basis
representing lntemational lnsurance Group’ lnc_ in the above-entitled action.
In support of this application, I certify on oath that:
l. l am an active member in good standing of a United States Court or of the highest
court of another State or the District of Columbia, as indicated above;
2. I agree to abide by the Standards of Professional Conduct set forth in Civil Local
Rule 1 1-4, to comply with General Order No. 45, Electronic Case Filing, and to
become familiar with the Local Rules and the Alternative Dispute Resolution
programs of this Court; and,
3. An attorney who is a member of the bar of this Court in good standing and who
maintains an offlce within the State of Califomia has been designated as co-
counsel in the above-entitled action. The name, address and telephone number of

that attorney is:

Sean Sherlock, Snell & Wilmer LLP, 600 Anton Blvd., Suite 1400, Costa
Mesa, CA 92626 (714) 427-7000

I declare under penalty of perjury that the foregoing is true and correct.

am 2005 M,//QM

 

